Case Z:J@B“-CYEQ'EUBELSDB> ADUUHTY\WYI®URFHH’G\©S¢IBW§L Page 1 of 2 Page|D 51

 

 

 

 

 

 

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. . v. reeman Felony Adult Defendant Crimmal Case 15'36

 

 

 

l]. OFFENSE(S) CHARGED (Cite U.S.Cod ,T`il &S ii ] ll'mol'e no , s o o we ma'o o meese ar e ,accor n oseveri o o ensc.
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ll. ATTORNEY'S NAME (FirsiNlme,M.i.,LucN ,i l dl fll 13. COURT ORD l COL}H
AND MAn.iNG Aoi)REss me m umw n o App.,i.mng§:..mi 13 c c...c..unm ','S T
JOHNSON, L. DANIEL |Ii F subsrorreneralnerender [] ii subsi-‘urneuin¢d A:wm¢y
254 Court St \:i P Suh.l For PanelAiiorney i:l Y StendbyCounsel
Suite 301 l'r|or Attorney‘s Nlme.'
Memphjs TN 38103 Appointmenibeie: _
i___i Beeansethe above-named person represented has testified under oeth ur has
otherwise sat‘iied this court that he or she (l) ls l'lnanc'a|l hi t l l il
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r (2) does no ll to waive counsel, and because lite interests ofjusliee so require, the
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14. NAI\IE AND MMLINC A.DDR.ESS OF LAW FIRM (only provide per instructional :r amey hyman l lm""m¢d w repmut am person m nm com
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(Rate per hour == 5 ) TOTA.LS:
16. a. interviews and Conl`erences
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17. Travel Expenses (lodging, parking, menls. mileage, ecc.}
Other Expenses (other than expert, transcripts, etc.)
19. CERTIFICATION OF ATI`OR.N`EY:'PAYEE FOR THE PERI()D 0 F SERVICE 10. APPO|NTMENT TERM|NATION DATE 11. CASE DISPO SITION
lF DTHER THAN CASE COMFLET[DN
FROM '[`0 ___
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Oiher linn from lhe eourl, have yon, or tnyoor knowledge has anyone else. received payment (cnmpenntioo or anything or valoe) from any other source in connection with lhis
represenlation'.' YES U NO ll'yes, give deiails on additiooel sheets.
l swear or affirm the truth or correctness of the above natements.
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US DISTRICT COURT

